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 5
     Attorney for Defendant,
 6   JOSEPH NOLAN
 7

 8                   IN THE UNITED STATES DISTRICT COURT
 9                EASTERN DISTRICT OF CALIFORNIA, FRESNO
10
     UNITED STATES OF AMERICA,          ) Case No.: 1:10-CR-00131 AWI
11                                      )
               Plaintiff,               )
12                                      )
         vs.                            ) STIPULATION AND ORDER TO
13                                      ) SUBORDINATE PROPERTY BOND
     JOSEPH NOLAN,                      )
14                                      )
               Defendant.               ) Hon. Anthony W. Ishii
15                                      )
16

17       IT IS HEREBY STIPULATED between the Defendant JOSEPH
18   NOLAN, by and through his attorney, Anthony P. Capozzi, and
19   Plaintiff, by and through Assistant United States Attorney,
20   Karen Escobar, that the property located at 5827 Allott
21   Avenue, Van Nuys, California 91401, having been posted as a
22   bond for Defendant, be released in order for Gary Inouye to
23   refinance the property.       Mr. Inouye intends to refinance to
24   lower the interest rate.       Mr. Inouye will not receive any
25   cash funds for the refinance.
26       IT IS FURTHER STIPULATED that the Government’s lien be
27   put back on the property upon the conclusion of the refinance
28   transaction.
                                         - 1 -
                                 STIPULATION AND ORDER
                              CASE NO.: 1:10-CR-00131 AWI
         Case 1:10-cr-00131-LJO Document 79 Filed 10/11/11 Page 2 of 3


 1                                          Respectfully submitted,
 2   DATED: October 7, 2011
 3                                          /s/Anthony P. Capozzi
 4                                          Anthony P. Capozzi
                                            Attorney for,
 5                                          JOSEPH NOLAN
 6
     DATED: October 7, 2011
 7
                                            /s/Karen Escobar
 8
                                            Karen Escobar
 9                                          Attorney for,
                                            UNITED STATES OF AMERICA
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                                 STIPULATION AND ORDER
                              CASE NO.: 1:10-CR-00131 AWI
                           Case 1:10-cr-00131-LJO Document 79 Filed 10/11/11 Page 3 of 3


 1                                    IN THE UNITED STATES DISTRICT COURT
 2                                  EASTERN DISTRICT OF CALIFORNIA, FRESNO
 3
     UNITED STATES OF AMERICA,                            ) Case No.: 1:10-CR-00131 AWI
 4                                                        )
                                 Plaintiff,               )
 5                                                        )
                           vs.                            ) ORDER
 6                                                        )
     JOSEPH NOLAN,                                        )
 7                                                        )
                                 Defendant.               )
 8                                                        ) Hon. Anthony W. Ishii
 9

10                         Upon review of the stipulation to Subordinate the Property
11   Bond, and good cause having been shown:
12                         IT IS HEREBY ORDERED that the property bond on 5827 Allott
13   Avenue, Van Nuys, California 91401, posted on behalf of Joseph
14   Nolan, shall be released.
15                         It is FURTHER ORDERED that the property bond be put back
16   on said property upon the completion of the refinancing
17   transaction.
18

19
     IT IS SO ORDERED.
20

21   Dated: October 7, 2011
                                                  CHIEF UNITED STATES DISTRICT JUDGE
22
     DEAC_Signature-END:




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                                                   STIPULATION AND ORDER
                                                CASE NO.: 1:10-CR-00131 AWI
